Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 1 of 7


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                      CIVIL CASE NO. 1:24-cv-22523-MOORE/Elfenbein


  KENNY ORTEGA

         Plaintiff,

  v.

  MIAMI-DADE COUNTY, a political
  subdivision in the State of Florida, and
  JOSEPH DIAZ in his individual capacity,

        Defendants.
  _____________________________________/

                      PLAINTIFF’S RETURN OF SERVICE EXECUTED –
                                  DEFENDANT JOSEPH DIAZ


  COMES NOW Plaintiff, KENNY ORTEGA, by and through his undersigned counsel, and files
  this Affidavit of Return of Service – Executed On Defendant Joseph Diaz. [EXHIBIT A]. As
  stated in Plaintiff’s most recent Status Report, Plaintiff has now finally been able to coordinate
  service of the instant Complaint and Summons on Defendant Diaz through Opposing Counsel
  and his separate criminal Defense Counsel after informing them that Plaintiff would file a
  Motion To Compel release of Diaz’ address for service since all of Plaintiff’s efforts to serve
  him via the police department liaison had failed, which is the usual method for serving police
  so that no personal address has to be released. [ECF 22 at Section III, ¶1].



                                Respectfully Submitted this 15th day of February 2025

                                                  By: /s/ Rawsi Williams
                                                     Rawsi Williams, Esq. R.N.
                                                     State Bar No. 103201
                                                     RAWSI WILLIAMS LAW GROUP
                                                     701 Brickell Ave., STE 1550
                                                     Miami FL 33131
                                                     TEL: 888-RawsiLaw/888-729-7452

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Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 2 of 7


                                                       Email:rawsi@rawsi.com;
                                                       Ajoseph2@rawsi.com;
                                                       docservice@rawsi.com
                                                       Attorney for Plaintiff


                                  CERTIFICATE OF SERVICE


  I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed with the

  District Clerk, Florida Southern District, and served electronically on all counsel of record via

  the ECF filing system on this 15th day of February 2025.


                                                       /s/ Rawsi Williams
                                                       Rawsi Williams, Esq. R.N.
                                                       State Bar No. 103201
                                                       RAWSI WILLIAMS LAW GROUP
                                                       701 Brickell Ave., STE 1550
                                                       Miami FL 33131
                                                       TEL: 888-RawsiLaw/888-729-7452
                                                       Email:rawsi@rawsi.com;
                                                       Ajoseph2@rawsi.com;
                                                       docservice@rawsi.com
                                                       Attorney for Plaintiff


  Service List
  Frank Allen, Esq., Co-Counsel for Plaintiff
  Fabiana Cohen, Esq., Counsel for Defendant Miami-Dade County




                                                   2
Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 3 of 7




                     EXHIBIT A
   Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 4 of 7



                       UNITED STATES DISTRICT COURT
                                                    for the
                                          Southern District of Florida


                    KENNY ORTEGA
                                                                          )
                           Plaintiff                                      )
                                                                          )
                              v.                                          )
                                                                          ) Civil Action No. 1:24-cv-22523-KMM
                                                                          )
MIAMI-DADE COUNTY, a political subdivision in the
                                                                          )
state of Florida, and JOSEPH DIAZ in his individual
                                                                          )
                       capacity
                                                                          )
                          Defendant


                                        AFFIDAVIT OF SERVICE


I, ORLANA ROSAL, state:

I am 18 years or older and not a party to this action. I am a certified or appointed process server in the county
in which this defendant or witness was served.

I received the following documents on February 10, 2025, at 4:00 pm. I served these documents with my
initials, identification number, and the date and hour of service endorsed thereon to Defendant Joseph E. Diaz
C/O Attorney David Trontz in Miami-Dade County, FL on February 11, 2025 at 1:16 pm at Donet,
McMillan, and Trontz, PA, C/O Attorney David Trontz (Defendant Diaz' counsel), 100 Almeria Ave, #230,
Coral Gables, FL 33134 by personal service by handing the following documents to an individual identified
as Defendant Joseph E. Diaz C/O Attorney David Trontz.

SUMMONS IN A CIVIL ACTION AND COMPLAINT - DEFENDANT JOSEPH DIAZ

Additional Description:
It was served to David Trontz As Attorney of record for and on behalf of Joseph E. Diaz.

INDIVIDUAL SERVICE: I served the documents to the within-named individual pursuant to F.S. 48.031(1)
(a)

Based on the Conversation with the person accepting service, the defendant/respondent is not in the Military
Service of the United States of America.



                                                                                             EXHIBIT A


Proof Job #851384                          1983.I.20.07.25.Kenny Ortega                                    Page 1
   Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 5 of 7



White Male, est. age 55-64, glasses: Y, Gray hair, 160 lbs to 180 lbs, 5' 6" to 5' 9".
Geolocation of Serve: https://google.com/maps?q=25.7470234955,-80.2569294748
Photograph: See Exhibit 1


Total Cost: $85.00

I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.


                                                         /s/ ORLANA ROSAL
Executed in                                              Signature
   Miami-Dade County                               ,     ORLANA ROSAL
                                                         10095
   FL         on     2/14/2025                .          +1 (786) 675-2030
                                                         9321 SW 4th St , APT 212, Miami, FL 33174




Proof Job #851384                          1983.I.20.07.25.Kenny Ortega                              Page 2
   Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 6 of 7




Proof Job #851384                1983.I.20.07.25.Kenny Ortega                   Page 3
   Case 1:24-cv-22523-KMM Document 23 Entered on FLSD Docket 02/15/2025 Page 7 of 7




Proof Job #851384                1983.I.20.07.25.Kenny Ortega                   Page 4
